
718 S.E.2d 630 (2011)
STATE
v.
Jeremiah ROYSTER.
No. 441P04-6.
Supreme Court of North Carolina.
November 9, 2011.
Jeremiah Royster, Laurinburg, for Royster, Jeremiah.
Amy C. Kunstling, Assistant Attorney General, for State of NC.
Amy Kunstling Irene, Assistant Attorney General, for State of North Carolina.
Sam Currin, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 31st of May 2011 by Defendant-Appellant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 9th of November 2011."
